
FERGUSON, Judge.
We agree with the trial court’s factual determination that a nunchaku (“num-chucks”), a potentially .lethal device which originated from the martial arts, is a deadly weapon. Unlike other common objects which may be deadly only because of their use or threatened use, the sole modern use of a nunchaku is to cause great bodily harm.1 Appellants, who carried the nun-chaku on their persons in a concealed manner, were properly adjudicated delinquent for carrying a concealed weapon. See *913C.J.R. v. State, 429 So.2d 753 (Fla. 1st DCA), review denied, 440 So.2d 351 (Fla.1983).
Affirmed.

. Appellant R.V. argues that nunchaku sticks have legitimate uses, noting, for example, that they were originally designed as farm tools used to separate chaff from grain. The instrument's historical origin does not help persuade us that it has constructive social utility on the streets of urban Miami.

